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 Case8:21-bk-11710-ES
      8:21-bk-11710-ES Doc
                         Doc167-1
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                            ForDocument
                               Reconsideration
                                            PagePage
                                                 1 of 150
                                                       1 of 150



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     6                             UNITED STATES BANKRUPTCY COURT
     7               CENTRAL DISTRICT OF CALIFORNIA - SANTA ANA DIVISION
     8
                                                                  Case No. 8:21-bk-11710-ES
     9
                                                                  Chapter 7
    10
         In re:                                                   '(%7256NOTICE OF AND MOTION
    11                                                            FOR RECONSIDERATION OF 7.21.22
    12   JAMIE LYNN GALLIAN,                                      ORDER SUSTAINING  HOUSER BROS.
                                                                  CO. '%$ RANCHO DEL REY MOBILE
    13                                                            HOME ESTATES OBJECTION TO
                                                                  DEBTOR’S CLAIMED HOMESTEAD
    14                  Debtor.
                                                                  EXEMPTION$1'
                                                                  -2,1'(53$57,(6+817,1*721
    15
                                                                  %($&+*$%/(6+2$-$1,1(-$662
    16
                                                                  Hearing Date: $XJXVW , 2022
    17                                                            Time:         10:30 a.m.
                                                                  Courtroom: 5A
    18
    19
    20    727+(+2125$%/((5,7+($60,7+$//3$57,(6$1'727+(,5

    21   $77251(<¶62)5(&25'Please take notice of Debtors Motion for Reconsideration

    22   'HEWRUUHVSHFWIXOO\UHTXHVWVUHFRQVLGHUDWLRQRIWKH&RXUWV2UGHU-XlyVXVWDLQLQJ

    23   +RXVHU%URV&RREMHFWLRQWR'HEWRUV&ODLPHG+RPHVWHDGZLWK

    24   DGGLWLRQDO-RLQGHU V7KH+XQWLQJWRQ%HDFK*DEOHV+RPHRZQHUV$VVRFLDWLRQDQG-DQLQH%-DVVR

    25   (VT
    26   7KHSXUSRVHRIEDQNUXSWF\LVWRJLYHGHEWRUVDIUHVKVWDUWE\VKHGGLQJGHEWVWKDWWKH\RZHGEXW

    27   FDQQRWSD\3DUWRIWKHIUHVKVWDUWLQFOXGHVOLHQDYRLGDQFHRQH[HPSWDVVHWV6HH5LFKDUGVRQ

    28   %5DW 'HEWRUZDQWVWRPD[LPL]HWKHDPRXQWRISURSHUW\VKHJHWVWRNHHSWRDYRLG
         DQ\FUHGLWRUFROOHFWLRQHIIRUWVHVSHFLDOO\HIIRUWV t RFROOHFWWKHLUSHUVRQDOUHVLGHQFH

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                     Motion
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                            ForDocument
                               Reconsideration
                                            PagePage
                                                 2 of 150
                                                       2 of 150


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                     Motion
                          Main
                            ForDocument
                               Reconsideration
                                            PagePage
                                                 3 of 150
                                                       3 of 150
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 Case8:21-bk-11710-ES
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                                            PagePage
                                                 4 of 150
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 Case8:21-bk-11710-ES
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                                                                      15:54:09 Desc
                                                                                Desc
                     Motion
                          Main
                            ForDocument
                               Reconsideration
                                            PagePage
                                                 5 of 150
                                                       5 of 150



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                                                 9 of 150
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                         Main
                           ForDocument
                              Reconsideration
                                          PagePage
                                                16 of 16
                                                      150of 150


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 Case8:21-bk-11710-ES
      8:21-bk-11710-ES Doc
                         Doc167-1
                             157 Filed
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                                                   Entered07/26/22
                                                            08/01/2216:39:25
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                    Motion
                         Main
                           ForDocument
                              Reconsideration
                                          PagePage
                                                17 of 17
                                                      150of 150


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 Case8:21-bk-11710-ES
      8:21-bk-11710-ES Doc
                         Doc167-1
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                                                   Entered07/26/22
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                    Motion
                         Main
                           ForDocument
                              Reconsideration
                                          PagePage
                                                18 of 18
                                                      150of 150


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 Case8:21-bk-11710-ES
      8:21-bk-11710-ES Doc
                         Doc167-1
                             157 Filed
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                                        08/01/22 Entered
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                                                            08/01/2216:39:25
                                                                     15:54:09 Desc
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                    Motion
                         Main
                           ForDocument
                              Reconsideration
                                          PagePage
                                                19 of 19
                                                      150of 150


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 Case8:21-bk-11710-ES
      8:21-bk-11710-ES Doc
                         Doc167-1
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                                        08/01/22 Entered
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                                                            08/01/2216:39:25
                                                                     15:54:09 Desc
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                    Motion
                         Main
                           ForDocument
                              Reconsideration
                                          PagePage
                                                20 of 20
                                                      150of 150


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 Case8:21-bk-11710-ES
      8:21-bk-11710-ES Doc
                         Doc167-1
                             157 Filed
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                                        08/01/22 Entered
                                                   Entered07/26/22
                                                            08/01/2216:39:25
                                                                     15:54:09 Desc
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                    Motion
                         Main
                           ForDocument
                              Reconsideration
                                          PagePage
                                                21 of 21
                                                      150of 150


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 Case8:21-bk-11710-ES
      8:21-bk-11710-ES Doc
                         Doc167-1
                             157 Filed
                                  Filed07/26/22
                                        08/01/22 Entered
                                                   Entered07/26/22
                                                            08/01/2216:39:25
                                                                     15:54:09 Desc
                                                                               Desc
                    Motion
                         Main
                           ForDocument
                              Reconsideration
                                          PagePage
                                                22 of 22
                                                      150of 150


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 Case8:21-bk-11710-ES
      8:21-bk-11710-ES Doc
                         Doc167-1
                             157 Filed
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                                        08/01/22 Entered
                                                   Entered07/26/22
                                                            08/01/2216:39:25
                                                                     15:54:09 Desc
                                                                               Desc
                    Motion
                         Main
                           ForDocument
                              Reconsideration
                                          PagePage
                                                23 of 23
                                                      150of 150


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 Case8:21-bk-11710-ES
      8:21-bk-11710-ES Doc
                         Doc167-1
                             157 Filed
                                  Filed07/26/22
                                        08/01/22 Entered
                                                   Entered07/26/22
                                                            08/01/2216:39:25
                                                                     15:54:09 Desc
                                                                               Desc
                    Motion
                         Main
                           ForDocument
                              Reconsideration
                                          PagePage
                                                24 of 24
                                                      150of 150


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                        90"/7+38./<8>/</=>;8K<;(FM<D9<I  I<:FI;<;@EK?<)I8E><

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 Case8:21-bk-11710-ES
      8:21-bk-11710-ES Doc
                         Doc167-1
                             157 Filed
                                  Filed07/26/22
                                        08/01/22 Entered
                                                   Entered07/26/22
                                                            08/01/2216:39:25
                                                                     15:54:09 Desc
                                                                               Desc
                    Motion
                         Main
                           ForDocument
                              Reconsideration
                                          PagePage
                                                25 of 25
                                                      150of 150


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      
           O<DGK@FE8E;9<C@<M<JJ?<GLI:?8J<;?<I:LII<EKI<J@;<E:<N@K?<O<DGK=LE;J :C8@D<;8J
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     8E;?8J9<<EG8P@E>GIFG<IKPK8O<J=FIFM<IP<8IJFEC8E;K?8KJ?<8CJFG8PJ>IFLE;C<8J<
     G8PD<EKJFE 
    
                 <9KFII<>@JK<I<;K?<<IK@=@:8K<F=.@KC<KFK?<-BPC@E<LJKFD0@CC8D8EL=8:KLI<;
    
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    
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      ,@M<IJ@;< @E=8:KK?<G<K@K@FE<IJ;F:LD<EKJ8I<JK8DG<;(FM<D9<I  N?@:?@E:CL;<;K?<

    JLII<E;<I<;<IK@=@:8K<F=.@KC<8E;,<C<8J<F=.@KC<;8K<;(FM<D9<I  <O<:LK<;LE;<I
    
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     I<HL@I<;I<J@;<E:PI<HL@I<D<EKJ ,P8EJFC;?<I?FD<;8PJ8=K<IK?<-K@GLC8K<;$L;>D<EKN8J
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Case
 Case8:21-bk-11710-ES
      8:21-bk-11710-ES Doc
                         Doc167-1
                             157 Filed
                                  Filed07/26/22
                                        08/01/22 Entered
                                                   Entered07/26/22
                                                            08/01/2216:39:25
                                                                     15:54:09 Desc
                                                                               Desc
                    Motion
                         Main
                           ForDocument
                              Reconsideration
                                          PagePage
                                                26 of 26
                                                      150of 150


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      FDDLE@KP<M<CFGD<EK().#) -&),.,(- , >8M<EFK@:<KF,8E:?F<C,<P
      K?8KJ?<JFC;K?<-BPC@E<LJKFD0@CC8D8EL=8:KLI<;?FD<FE(FM<D9<I  CF:8K<;

     
           8E;@EJK8CC<;GLIJL8EKKF"<8CK?-8=<KP FE&FK /E@K @E.,. LE;<I8
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           I<:FI;<;98.97383?7#?,6/+=/+8.<+8>//.#29<>9<7/79<+8.?7I<:FI;<;@E
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     ,<:FI;J8E;9@/8+8>="?88381'3>2$2/+8. <O<:LK<;FE):KF9<I  I<:FI;<;

     (FM<D9<I  @EFFB G8><  F=)==@:@8C,<:FI;JF=K?<C<IB,<:FI;<I
     =FIK?<FLEKPF=)I8E><8>8@EJK * (    
    
                  )E(FM<D9<I  8CDFJKKNFN<<BJ8=K<I$8D@<!8CC@8EGLI:?8J<;K?<
    
           -BPC@E<LJKFD0@CC8?FD<=IFD&@J8,P8E 8E;8=K<I&@J8,P8E>8M<(FK@:<F=-8C<FE
    
           (FM<D9<I  "FLJ<IIFJF8KKFIE<P0@M@<EE<CJKFE=@C<;81I@KF=O<:LK@FE@EK?<
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      E8D<F=&@J8,P8E ;8K<;   N@K?FLK8GGC@:8K@FEKFK?<FLIKFI(FK@:<8E;;<C@M<I<;@K
      KFK?<)I8E><FLEKP-?<I@==FEFI89FLK(FM<D9<I  

             )E(FM<D9<I FM<IN<<BJ8=K<IK?<D8EL=8:KLI<;?FD<N8JGLI:?8J<;9P
    
           $8D@<!8CC@8EFE(FM<D9<I  $8D@<&PEE!8CC@8E;IFM<KF,@M<IJ@;<"8E;I<>@JK<I<;
   
           K?<D8EL=8:KLI<;?FD<@EK?<E8D<F=?<IJFC<D<D9<I&&$ -8E;:8JKC<F&&LEK@C
   
           K?<<8IC@<JKF=J<M<I8CK?@E>J?8GG<E<;
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                $8D@<!8CC@8ENFLC;9<8CCFN<;KF@EK<IM<E<@EKFK?<:@M@C8:K@FE"FLJ<IIFJF M
     &@J8,P8E   8E;?8M<K?<1,#.I<:8CC<;8E;K<ID@E8K<;9PFLIK)I;<I 


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Case
 Case8:21-bk-11710-ES
      8:21-bk-11710-ES Doc
                         Doc167-1
                             157 Filed
                                  Filed07/26/22
                                        08/01/22 Entered
                                                   Entered07/26/22
                                                            08/01/2216:39:25
                                                                     15:54:09 Desc
                                                                               Desc
                    Motion
                         Main
                           ForDocument
                              Reconsideration
                                          PagePage
                                                27 of 27
                                                      150of 150


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     
           K?<GLI:?8J<F=K?<VDOHRIWKHXQHQFXPEHUHG5\DQ)DLOXUH'8EL=8:KLI<;"FD<
     
               ,<HL<JKJJ8E:K@FEJ8>8@EJKK?<"FLJ<IIFJF=FIM@FC8K@E>K?<8M@J-K@IC@E>:K8E;

      K?<-L9;@M@J@FE'8G:K
                @>LI<FLKN?P8.I8:K'8G8E;FE;FD@E@LD*C8EN<I<I<:FI;<;L>LJK8E;
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           ):KF9<I 8>8@EJK.,. /E@K    &FK&FK 8E;K?< @IJKD<E;D<EKKF
       
           K?<,JI<:FI;<;;8P9<=FI<K?<K<EK8K@M<D8GN8JKF<OG@I<FE   8E;I<:FI;<;
       
           LEC8N=LCCP8=K<I8CI<@JJL<;K?<V1?@K<,<GFIKWN8J@ED@;$LCP=FIV.,.W         
       
     'FI<@DGFIK8EKCP;<K<ID@E<K?<C<>8C@KPF=V@I -G8:<FE;FD@E@LDJWFEC<8J<;C8E;@E
     M@FC8K@FEF=IK@:C<8E;"LEK@E>KFE<8:?-L9;@M@J@FE'8G)I;@E8E:<J

             ,<HL<JKK?<.8OJJ<JJFII<=LE;8GGIFO@D8K<CPP<8IJF=FM<IG8PD<EKF=K8O<J=FI
     K?<V&8E;W8E;@E8;;@K@FEKFG8P@E>K?<GIFG<IKPK8O<J G8PD<EKJD8;<=FIV@I -G8:<
    
           JL9:FE;FD@E@LDFEC<8J<;C8E; 8CJFG8PD<EKJD8;<8>8@EJK8>IFLE;C<8J<9@CC=FIP<8IJ 
    
                  <:8LJ<GIFG<IKPF=K?<<JK8K<@E:CL;<JFECPK?<;<9KFIYJ@EK<I<JK@EK?<&& 8E;EFKK?<
    
           D8EL=8:KLI<;?FD<FNE<;9PK?<&& <9KFIYJ:C8@DF=<O<DGK@FE@J8LK?FI@Q<;LE;<IK?<
    
      C8N9<:8LJ<@K@J;<9KFIYJGI@D8IPI<J@;<E:<8E;?8J9<<EJ@E:<;<9KFIGLI:?8J<;K?<?FD<FE
      (FM<D9<I  N@K?K?<=LE;JF=?<IGI<M@FLJ?FD<JK<8;;@J:CFJ<;FE?<I@E@K@8C:?8GK<I

    G<K@K@FE ) 
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                   LIK?<I K?<I<@J8-<:LI@KP>I<<D<EK8E;*IFD@JJFIP(FK<8>8@EJKK?<
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           D8EL=8:KLI<;?FD<G<I=<:K<;   FEK?<=8:<F=K?<<IK@=@:8K<F=.@KC<KFK?<
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    G<I=<:K<;C@<E?<C;9P8EFK?<I&&;F<JEFKGI<M<EK;<9KFI=IFD:C8@D@E>8?FD<JK<8;
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Case
 Case8:21-bk-11710-ES
      8:21-bk-11710-ES Doc
                         Doc167-1
                             157 Filed
                                  Filed07/26/22
                                        08/01/22 Entered
                                                   Entered07/26/22
                                                            08/01/2216:39:25
                                                                     15:54:09 Desc
                                                                               Desc
                    Motion
                         Main
                           ForDocument
                              Reconsideration
                                          PagePage
                                                28 of 28
                                                      150of 150


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     
                   )E$LCP V*<K@K@FE8K<W $8D@<&PEE!8CC@8EV<9KFIW=@C<;8MFCLEK8IP
     
           G<K@K@FELE;<I?8GK<IF=.@KC<F=K?</E@K<;-K8K<JF;< )EK?<J8D<;8K< 'J !8CC@8E
     
           =@C<;?<I@E@K@8C-:?<;LC<J8E;-K8K<D<EKJV)I@>@E8C-:?<;LC<JW KIL<8E;:FII<:K:FGPF=K?<
     
           )I@>@E8C-:?<;LC<J@J8KK8:?<;KFK?<<:C8I8K@FEF=$8D@<&PEE!8CC@8EV!8CC@8E<:C8I8K@FEW
      
                  KK?<@EJK8EKF=K?<:FDD<E:<D<EKF=898EBILGK:P:8J< 8E8LKFD8K@:JK8P:FD<J@EKF

       <==<:K8J8D8KK<IF=C8N / -  R8 .?<@E@K@8CD<<K@E>F=:I<;@KFIJN8J?<C;
    L>LJK  :FEK@EL<;8GGIFO@D8K<CPE@E<K@D<J 
    
                   KK?<L>LJK  '<<K@E>F=I<;@KFIJ <9KFI@E=FID<;K?<.ILJK<<$<==I<P
    
           !FC;<E8E;K?<#EK<I<JK<;*8IK@<JGI<J<EK E8D<CP"FLJ<IIFJF8E;$8E@E<$8JJF JH 8E;
    
           "LEK@E>KFE<8:?!89C<J"FD<FNE<IJJJF:@8K@FEK?8K<9KFI9<C@<M<;?<IG<K@K@FEN8J
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     @E8::LI8K<8E;J?<NFLC;9<8D<E;@E>?<IG<K@K@FE:FE:<IE@E>J<M<I8C8I<8JFE<K?8KK?<
     ,<>@JK<I<;)NE<IF=K?<'8EL=8:KLI<;"FD<8JF=K?<;8K<K?<*<K@K@FEN8J=@C<;8E;K?8K
      ;<9KFII<:<@M<;=IFD"8.@KC<-<8I:?;8K<;$LCP  N?@:?I<=C<:K<;$8D@<&PEE
      !8CC@8E8JK?<,<>@JK<I<;)NE<IG<I=<:K<;   ?FN<M<I$ *8; &&  G<I=<:K<;
    
           <IK@=@:8K<F=.@KC<N8JD@JK8B<ECPI<DFM<;N?<E@KN8JFECPI<HL<JK<;'I *@<IGFEK   
   
           E:LD9I8E:<9<I<DFM<; 
    
                   ",@M<IJ@;<'8E8><I 'J -PCM@8ILQJGFB<KF;<9KFI@EJKIL:K<;;<9KFIN?<EJ?<
   
    I<:<@M<;K?<)I@>@E8C<IK@=@:8K<F=.@KC<=IFD-8:I8D<EKF@EK?</-'8@C N?@:?;<9KFI;@;
    I<:<@M<8GGIFO@D8K<CPL>LJK  KFK8B<K?<=FIDK?8KN8JGI@EK<;L>LJK  KF"
    @E,@M<IJ@;<KF:FII<:K8E;I< 8;;$ *8; &&  8JK?<&<>8C)NE<I98:BKFK?<
   
           <IK@=@:8K<F=.@KC< 
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 Case8:21-bk-11710-ES
      8:21-bk-11710-ES Doc
                         Doc167-1
                             157 Filed
                                  Filed07/26/22
                                        08/01/22 Entered
                                                   Entered07/26/22
                                                            08/01/2216:39:25
                                                                     15:54:09 Desc
                                                                               Desc
                    Motion
                         Main
                           ForDocument
                              Reconsideration
                                          PagePage
                                                29 of 29
                                                      150of 150


                   <9KFIN8J@E=FID<;8KK?<,@M<IJ@;<F==@:<J?<NFLC;?8M<KFG8P8J<:FE;=<<F=
     
      8GGIFO@D8K<CP KF",@M<IJ@;<KF:FII<:KK?<<IIFIN?@:?N8JD8;<9PK?<
      -8:I8D<EKF,<>@JKI8K@FE8E;.@KC@E><G8IKD<EK8KK?<9<>@EE@E>F=$LCP <9KFIG8@;
       9P8E8JJ@>E<;.(ELD9<I8GGIFO@D8K<CP$LCP  8E;8>8@EFEFI89FLKL>LJK
        8K",@M<IJ@;<LJ@E>8E.':8I;KFD8B<K?<:FII<:K@FEFEL>LJK 

     
           I<=C<:K<;FEK?<.@KC<-<8I:?;8K<;L>LJK GIFM@;<;9P<D8@CKF;<9KFI9P"
      
           ,@M<IJ@;<.<:?E@:@8E-8I@E8GIFM@;<;KFK?<.ILJK<< 
      
                   )EK?<G<K@K@FE;8K<$LCP  K?<I<>@JK<I<;K@KC<FNE<IF=K?<D8EL=8:KLI<;?FD<
      
    CF:8K<;8K'FEK<I<P&8E< /E@K "LEK@E>KFE<8:? V*IFG<IKPWN8J
     $8D@<&PEE!8CC@8E8JF= <9IL8IP  K?<;8K<$ -8E;:8JKC<F&&J@>E<;8E;;8K<;KF

     I<C<8J<K?<<IK@=@:8K<F=.@KC<KF$8D@<&PEE!8CC@8E EFK8I@Q<;K?<J8D<;8K< 
    
                   $ -8E;:8JKC<F &&V$ -8E;:8JKC<&&WN8JJL9A<:KKFG<I=<:K<;/ =@C@E>
    
              JLGGFIK<;9P8-<:LI@KP#EJKILD<EK8E;*IFD@JJFIP(FK<;8K<;(FM<D9<I  
    
           <O<:LK<;8K<EKI8C$LJK@:<<EK<I9<KN<<E$ -8E;:8JKC<F&& $8D@<&PEE!8CC@8E '<D9<I
    
           8E;$8D@<&PEE!8CC@8E &<E;<I8E;$ *8; && @KYJ'8E8><I8E;K?<?FC;<IF=K?<(FK<N@K?
    
      8CCC<>8CFNE<IJ $ *8; &&G<I=<:K<;LE;<I<IK@=@:8K<F=.@KC<V).WLE;<IK?<C8NJF=K?<
      -K8K<F=8C@=FIE@8 

               <9KFIYJ-:?<;LC<J=LIK?<II<=C<:KK?8KJ?<K?<JFC<FNE<IF=$ -8E;:8JKC<&& <:8LJ<
    
           K?<&&N8JC@JK<;8JK?<I<>@JK<I<;FNE<IF=K?<D8EL=8:KLI<;?FD<FEK?<*<K@K@FE8K< K?<
   
           ;<9KFI;@J:CFJ<;K?<E8D<F=K?<&&FEK?<;<9KFIYJG<K@K@FE8E;;@J:CFJ<;FE-:?<;LC<J?<
   
           ?8;8E@EK<I<JK@EK?<GIFG<IKP 
   
               <9KFII<J@;<J@EK?<?FD<8E;@K@J;<9KFIJ?FD<8E;GIFG<IKPF=;<9KFIYJJK8K< <9KFI

    @J<EK@KC<;KF8?FD<JK<8;<O<DGK@FE 
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 Case8:21-bk-11710-ES
      8:21-bk-11710-ES Doc
                         Doc167-1
                             157 Filed
                                  Filed07/26/22
                                        08/01/22 Entered
                                                   Entered07/26/22
                                                            08/01/2216:39:25
                                                                     15:54:09 Desc
                                                                               Desc
                    Motion
                         Main
                           ForDocument
                              Reconsideration
                                          PagePage
                                                30 of 30
                                                      150of 150


           $<+8=0/<<381B/7:>!<9:/<>C+C9>,/+<+?.?6/8>$<+8=0/<%8./<+6309<83++A
     
                <9KFIN8EKJKFD8O@D@Q<K?<8DFLEKF=GIFG<IKPJ?<><KJKFB<<G KF8MF@; 8EP:I<;@KFI

      :FCC<:K@FE<==FIKJ <JG<:@8CCP<==FIKJKF:FCC<:K?<IG<IJFE8CI<J@;<E:< 
     
                  8C@=FIE@8C8NJ:I<8K<8JG<:@=@: JK8KLKFIP<O:CLJ@FE=IFD=I8L;LC<EKKI8EJ=<I:C8@DJ=FI
     

      GIFG<IKPK?8K?8JEF<HL@KP9<PFE;8E<O<DGK@FE @E:CL;@E>KI8EJ=<II@E>8G<IJFE8CI<J@;<E:<
       JL9A<:KKF8C@=FIE@8YJ?FD<JK<8;<O<DGK@FE -L:?KI8EJ=<IJD8P9<<EK@I<CP<O<DGK=IFD8E
       8KK8:B8J8=I8L;LC<EKKI8EJ=<I@E8C@=FIE@8:FLIK 8CJFBEFNE8J=I8L;LC<EK:FEM<P8E:< FI
      
           MF@;89C<KI8EJ8:K@FE 
   
            $2/+81?+1/90+6309<83+G=%8309<7&93.+,6/$<+8=+->398=->B-6?./=B/7:>
    
                  !<9:/<>C8-6?.381+!/<=98+6"/=3./8-/#?,4/->>9+97/=>/+.  
    
              /E;<IK?<8C@=FIE@8/E@=FID0F@;89C<.I8EJ8:K@FEJ:K/0. :I<;@KFIJ:8E8KK8:B8J
     8E8:KL8CCP=I8L;LC<EKKI8EJ=<I8V><+8=0/<WD8;<V1@K?8:KL8C@EK<EKKF?@E;<I ;<C8P FI;<=I8L;
    
           8EP:I<;@KFIF=K?<;<9KFIWFIV1@K?FLKI<:<@M@E>8I<8JFE89CP<HL@M8C<EKM8CL<@E<O:?8E><=FI
    
           K?<KI8EJ=<IFIF9C@>8K@FES W8C@=FIE@8@M@CF;<R  I<;@KFIJ:8E8CJFJ<<BKF8MF@;
    
           8J8:FEJKIL:K@M<CP=I8L;LC<EKKI8EJ=<I8EPV><+8=0/<WD8;<VN@K?FLKI<:<@M@E>8I<8JFE89CP
    

    <HL@M8C<EKM8CL<@E<O:?8E><=FIK?<KI8EJ=<IFIF9C@>8K@FE8E;K?<;<9KFIN8J@EJFCM<EK8KK?8K
     K@D<FIK?<;<9KFI9<:8D<@EJFCM<EK8J8I<JLCKF=K?<KI8EJ=<IFIF9C@>8K@FE W8C@=FIE@8@M@C

    F;<R  
   
                  #EKLIE K?<;<=@E@K@FEJLE;<IK?<8C@=FIE@8/E@=FID0F@;89C<.I8EJ8:K@FEJ:KGIFM@;<J
   
    K?8KVX$<+8=0/<XD<8EJ<M<IPDF;< ;@I<:KFI@E;@I<:K 89JFCLK<FI:FE;@K@FE8C MFCLEK8IPFI
    @EMFCLEK8IP F=;@JGFJ@E>F=FIG8IK@E>N@K?8E8JJ<KFI8E@EK<I<JK@E8E8JJ<K 8E;@E:CL;<J
     G8PD<EKF=DFE<P I<C<8J< C<8J< C@:<EJ< 8E;:I<8K@FEF=8C@<EFIFK?<I<E:LD9I8E:< W
    
           8C@=FIE@8@M@CF;<R
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 Case8:21-bk-11710-ES
      8:21-bk-11710-ES Doc
                         Doc167-1
                             157 Filed
                                  Filed07/26/22
                                        08/01/22 Entered
                                                   Entered07/26/22
                                                            08/01/2216:39:25
                                                                     15:54:09 Desc
                                                                               Desc
                    Motion
                         Main
                           ForDocument
                              Reconsideration
                                          PagePage
                                                31 of 31
                                                      150of 150


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     
      D<8EJ:<9:/<>CF=8;<9KFI 9LKK?<K<ID.9/=89>38-6?./K?<=FCCFN@E>
     
                   *IFG<IKPKFK?<<OK<EK@K@J<E:LD9<I<;9P8M8C@;C@<E
     
                   *IFG<IKPKFK?<<OK<EK@K@J><E<I8CCP<O<DGKLE;<IEFE98EBILGK:PC8NE8C@=FIE@8
     
           @M@CF;< R 8 
     
                /,>9<G=:</@39?=:<9:/<>C</=3./8-/A+==96.98 ->9,/<                A+=/B/7:>/.

       ?8./<+6309<83+G=/B/7:>3986+A=8E;@J<O:CL;<;=IFDK?<;<=@E@K@FEF=8E8JJ<KK?8K:8E9<
       JL9A<:KKF8:C8@DK?8KF=9<@E>8=I8L;LC<EKKI8EJ=<I .?@J<O<DGK@FE?8J9<<E<OGC8@E<;9PFE<
    8C@=FIE@8:FLIK@E VK?<58C@=FIE@86/0.;<=@E<J8E8JJ<K8JK?<XGIFG<IKPF=8;<9KFI Y
    
           <O:CL;@E>GIFG<IKPXKFK?<<OK<EK@K@J<E:LD9<I<;9P8M8C@;C@<E5 6Y8E;XKFK?<<OK<EK@K@J
    
           ><E<I8CCP<O<DGKLE;<IEFE98EBILGK:PC8N Y58C@=FIE@8@M@CF;<6R  JL9; 8 
    
           JEFK<;9PK?<&<>@JC8K@M<FDD@KK<<FDD<EKJ K?<;<=@E@K@FEF=8JJ<KXI<HL@I<J8
    

     ;<K<ID@E8K@FEK?8KK?<GIFG<IKP@JJL9A<:KKF<E=FI:<D<EKF=8DFE<PAL;>D<EK 
    
                  /E;<I#/->398         90>2/9./903@36!<9-/.?</ GIFG<IKP>2+>)3=89>*JL9A<:KKF
    
           <E=FI:<D<EKF=8DFE<PAL;>D<EK@J<O<DGK Y&<>@J FD :FD GK 1<JKYJEE @M 
    
           F;<<; =FCC R  G  W.33$15 ++( -"$-(3$#-2 .
    

    8C GG K?  
    
                  .?<;<:@J@FE=FCCFNJ88C@=FIE@8:FLIKF=8GG<8CFG@E@FEV#K?8JCFE>9<<EK?<ILC<
   
           K?8K8>@=K J8C< FIGC<;><F=8EPG8IKF=8?FD<JK<8;:8EEFK LE;<I8EP:@I:LDJK8E:<J 9<N@K?
   
           @EK<EKKF;<=I8L;8:I<;@KFIEFK?8M@E>8C@<ELGFEK?<GI<D@J<J =FI8:I<;@KFI@JEFK<EK@KC<;KF
   
    :FDGC8@EF=K?<KI8EJ=<I9PK?<;<9KFIF=8E8JJ<KN?@:??<:FLC;EFK?8M<I<8:?<; ?8;K?<
    ;<9KFII<K8@E<;@K #=K?<?FD<JK<8;@JM8C@; EF8KK<DGK<;;@JGFJ@K@FEFI:FEM<P8E:<F=K?<
     GIFG<IKP ?FN<M<I=I8L;LC<EK @EALI<JK?<:I<;@KFI  FIJL:?8:K C<8M<JK?<:I<;@KFI@EK?<J8D<
    
           GFJ@K@FE@EN?@:??<NFLC;?8M<9<<E9<=FI<@KN8J;FE<
                                                                  

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 Case8:21-bk-11710-ES
      8:21-bk-11710-ES Doc
                         Doc167-1
                             157 Filed
                                  Filed07/26/22
                                        08/01/22 Entered
                                                   Entered07/26/22
                                                            08/01/2216:39:25
                                                                     15:54:09 Desc
                                                                               Desc
                    Motion
                         Main
                           ForDocument
                              Reconsideration
                                          PagePage
                                                32 of 32
                                                      150of 150


                    <9KFIYJ8KK<DGKKF;<=<8K?<I:I<;@KFIJ@JEFK:FDD<E;89C< JL:?:FE;L:KE<@K?<I
     
           <EC8I><JGC8@EK@==YJI@>?KJ EFI>@M<J?@D9<E<=@KJ8JGLE@J?D<EKF=;<9KFI #EJL:?:@I:LDJK8E:<J
     
      K?<;<=<E;8EKYJDFK@M<J8I<@DD8K<I@8C W 22.-$5.5 18C GG K? 
      HLFK@E>//$-'$(,5..#+$88C GG ;  
     
                     V$'13 2'55$'13 2'8C GG K? 6I@>?KCP8==@ID<;K?<CFE>JK8E;@E>
     
           GI@E:@GC<K?8K@EALIP @E =8:K@J8E<JJ<EK@8C<C<D<EKF=8:C8@DLE;<IK?</ .5/E@=FID
      
              I8L;LC<EK.I8EJ=<I:K6 8E;N<=FCCFNK?8KGI@E:@GC<@EK?<GI<J<EK:8J< :I<;@KFI?8JEFK

       9<<E@EALI<;LEC<JJK?<KI8EJ=<IGLKJ9<PFE;I<8:?GIFG<IKPK?<:I<;@KFI  
               E(#$+(38 3(.- +(3+$-2 .5"'1.$#$18C GG K? 
    
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     F=K?<$'13 2'FG@E@FEXM<E8JJLD@E>K?<8CC<><;CP=I8L;LC<EK:FEM<P8E:<N<I<J<K8J@;<8E;

     K?<GIFG<IKPN<I<?PGFK?<K@:8CCP8M8@C89C<KF<E=FI:<K?<GC8@EK@==YJDFE<PAL;>D<EK @K:FLC;EFK
    
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                         Main
                           ForDocument
                              Reconsideration
                                          PagePage
                                                33 of 33
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                              Reconsideration
                                          PagePage
                                                35 of 35
                                                      150of 150
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 Case8:21-bk-11710-ES
      8:21-bk-11710-ES Doc
                         Doc167-1
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                              Reconsideration
                                          PagePage
                                                36 of 36
                                                      150of 150
Case
 Case8:21-bk-11710-ES
      8:21-bk-11710-ES Doc
                         Doc167-1
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                              Reconsideration
                                          PagePage
                                                37 of 37
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Case
 Case8:21-bk-11710-ES
      8:21-bk-11710-ES Doc
                         Doc167-1
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                              Reconsideration
                                          PagePage
                                                38 of 38
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Case
 Case8:21-bk-11710-ES
      8:21-bk-11710-ES Doc
                         Doc167-1
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                              Reconsideration
                                          PagePage
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 Case8:21-bk-11710-ES
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                         Doc167-1
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                              Reconsideration
                                          PagePage
                                                40 of 40
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Case
 Case8:21-bk-11710-ES
      8:21-bk-11710-ES Doc
                         Doc167-1
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                                                41 of 41
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                    Motion
                         Main
                           ForDocument
                              Reconsideration
                                          PagePage
                                                42 of 42
                                                      150of 150
Case
 Case8:21-bk-11710-ES
      8:21-bk-11710-ES Doc
                         Doc167-1
                             157 Filed
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                    Motion
                         Main
                           ForDocument
                              Reconsideration
                                          PagePage
                                                43 of 43
                                                      150of 150
Case
 Case8:21-bk-11710-ES
      8:21-bk-11710-ES Doc
                         Doc167-1
                             157 Filed
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                    Motion
                         Main
                           ForDocument
                              Reconsideration
                                          PagePage
                                                44 of 44
                                                      150of 150
Case
 Case8:21-bk-11710-ES
      8:21-bk-11710-ES Doc
                         Doc167-1
                             157 Filed
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                              Reconsideration
                                          PagePage
                                                45 of 45
                                                      150of 150
Case
 Case8:21-bk-11710-ES
      8:21-bk-11710-ES Doc
                         Doc167-1
                             157 Filed
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                         Main
                           ForDocument
                              Reconsideration
                                          PagePage
                                                46 of 46
                                                      150of 150
Case
 Case8:21-bk-11710-ES
      8:21-bk-11710-ES Doc
                         Doc167-1
                             157 Filed
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                         Main
                           ForDocument
                              Reconsideration
                                          PagePage
                                                47 of 47
                                                      150of 150
Case
 Case8:21-bk-11710-ES
      8:21-bk-11710-ES Doc
                         Doc167-1
                             157 Filed
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                              Reconsideration
                                          PagePage
                                                48 of 48
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Case
 Case8:21-bk-11710-ES
      8:21-bk-11710-ES Doc
                         Doc167-1
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                              Reconsideration
                                          PagePage
                                                49 of 49
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Case
 Case8:21-bk-11710-ES
      8:21-bk-11710-ES Doc
                         Doc167-1
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                         Main
                           ForDocument
                              Reconsideration
                                          PagePage
                                                50 of 50
                                                      150of 150
          Case
           Case8:21-bk-11710-ES
                8:21-bk-11710-ES Doc
Tax Map - myFirstAm
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                                   Main
                                     ForDocument
                                        Reconsideration
                                                    PagePage
                                                          51 of 51
                                                                150of 150




                      Tax Map                           4476 Alderport Dr #53, Huntington Beach, CA 92649




1 of 3                                                                                         , 10:26AM
          Case
           Case8:21-bk-11710-ES
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                                        Reconsideration
                                                    PagePage
                                                          52 of 52
                                                                150of 150




2 of 3                                                                                         , 10:26AM
Case
 Case8:21-bk-11710-ES
      8:21-bk-11710-ES Doc
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                    Motion
                         Main
                           ForDocument
                              Reconsideration
                                          PagePage
                                                53 of 53
                                                      150of 150
Case
 Case8:21-bk-11710-ES
      8:21-bk-11710-ES Doc
                         Doc167-1
                             157 Filed
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                         Main
                           ForDocument
                              Reconsideration
                                          PagePage
                                                54 of 54
                                                      150of 150
Case
 Case8:21-bk-11710-ES
      8:21-bk-11710-ES Doc
                         Doc167-1
                             157 Filed
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                           ForDocument
                              Reconsideration
                                          PagePage
                                                55 of 55
                                                      150of 150
Case
 Case8:21-bk-11710-ES
      8:21-bk-11710-ES Doc
                         Doc167-1
                             157 Filed
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                    Motion
                         Main
                           ForDocument
                              Reconsideration
                                          PagePage
                                                56 of 56
                                                      150of 150
Case
 Case8:21-bk-11710-ES
      8:21-bk-11710-ES Doc
                         Doc167-1
                             157 Filed
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                              Reconsideration
                                          PagePage
                                                57 of 57
                                                      150of 150
Case
 Case8:21-bk-11710-ES
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                         Doc167-1
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                    Motion
                         Main
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                              Reconsideration
                                          PagePage
                                                58 of 58
                                                      150of 150
Case
 Case8:21-bk-11710-ES
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                         Doc167-1
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                         Main
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                              Reconsideration
                                          PagePage
                                                59 of 59
                                                      150of 150
Case
 Case8:21-bk-11710-ES
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                         Doc167-1
                             157 Filed
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                                                60 of 60
                                                      150of 150
Case
 Case8:21-bk-11710-ES
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                         Doc167-1
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                         Main
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                              Reconsideration
                                          PagePage
                                                61 of 61
                                                      150of 150
Case
 Case8:21-bk-11710-ES
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                         Doc167-1
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                              Reconsideration
                                          PagePage
                                                62 of 62
                                                      150of 150
Case
 Case8:21-bk-11710-ES
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                         Doc167-1
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                              Reconsideration
                                          PagePage
                                                63 of 63
                                                      150of 150
Case
 Case8:21-bk-11710-ES
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                         Doc167-1
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                              Reconsideration
                                          PagePage
                                                64 of 64
                                                      150of 150
Case
 Case8:21-bk-11710-ES
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                         Doc167-1
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                              Reconsideration
                                          PagePage
                                                65 of 65
                                                      150of 150
Case
 Case8:21-bk-11710-ES
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                         Doc167-1
                             157 Filed
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                         Main
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                              Reconsideration
                                          PagePage
                                                66 of 66
                                                      150of 150
Case
 Case8:21-bk-11710-ES
      8:21-bk-11710-ES Doc
                         Doc167-1
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                         Main
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                              Reconsideration
                                          PagePage
                                                67 of 67
                                                      150of 150
Case
 Case8:21-bk-11710-ES
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                         Doc167-1
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                         Main
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                              Reconsideration
                                          PagePage
                                                68 of 68
                                                      150of 150
Case
 Case8:21-bk-11710-ES
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                         Doc167-1
                             157 Filed
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                              Reconsideration
                                          PagePage
                                                69 of 69
                                                      150of 150
Case
 Case8:21-bk-11710-ES
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                         Doc167-1
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                              Reconsideration
                                          PagePage
                                                70 of 70
                                                      150of 150
Case
 Case8:21-bk-11710-ES
      8:21-bk-11710-ES Doc
                         Doc167-1
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                    Motion
                         Main
                           ForDocument
                              Reconsideration
                                          PagePage
                                                71 of 71
                                                      150of 150
Case
 Case8:21-bk-11710-ES
      8:21-bk-11710-ES Doc
                         Doc167-1
                             157 Filed
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                         Main
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                              Reconsideration
                                          PagePage
                                                72 of 72
                                                      150of 150
Case
 Case8:21-bk-11710-ES
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                         Doc167-1
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                         Main
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                              Reconsideration
                                          PagePage
                                                73 of 73
                                                      150of 150
Case
 Case8:21-bk-11710-ES
      8:21-bk-11710-ES Doc
                         Doc167-1
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                         Main
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                              Reconsideration
                                          PagePage
                                                74 of 74
                                                      150of 150
Case
 Case8:21-bk-11710-ES
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                         Doc167-1
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                              Reconsideration
                                          PagePage
                                                75 of 75
                                                      150of 150
Case
 Case8:21-bk-11710-ES
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                         Doc167-1
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                              Reconsideration
                                          PagePage
                                                76 of 76
                                                      150of 150
Case
 Case8:21-bk-11710-ES
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                         Doc167-1
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                         Main
                           ForDocument
                              Reconsideration
                                          PagePage
                                                77 of 77
                                                      150of 150
Case
 Case8:21-bk-11710-ES
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                         Doc167-1
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                         Main
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                              Reconsideration
                                          PagePage
                                                78 of 78
                                                      150of 150
Case
 Case8:21-bk-11710-ES
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                         Doc167-1
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                         Main
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                              Reconsideration
                                          PagePage
                                                79 of 79
                                                      150of 150
Case
 Case8:21-bk-11710-ES
      8:21-bk-11710-ES Doc
                         Doc167-1
                             157 Filed
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                         Main
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                              Reconsideration
                                          PagePage
                                                80 of 80
                                                      150of 150
BranchCase
       Case8:21-bk-11710-ES
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                                    Reconsideration
                                                 PagePage
                                                       81 of 81
                                                             150of 150




ORANGE,CA                                Page 1 of 3
Document: LS 13362.317
BranchCase
       Case8:21-bk-11710-ES
             8:21-bk-11710-ES
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                                   157 Comment:
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                               Main
                                 ForDocument
                                    Reconsideration
                                                 PagePage
                                                       82 of 82
                                                             150of 150




ORANGE,CA                                Page 2 of 3
Document: LS 13362.317
BranchCase
       Case8:21-bk-11710-ES
             8:21-bk-11710-ES
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                                   157 Comment:
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                               Main
                                 ForDocument
                                    Reconsideration
                                                 PagePage
                                                       83 of 83
                                                             150of 150




ORANGE,CA                                Page 3 of 3
Document: LS 13362.317
BranchCase
       Case8:21-bk-11710-ES
             8:21-bk-11710-ES
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                                 ForDocument
                                    Reconsideration
                                                 PagePage
                                                       84 of 84
                                                             150of 150




ORANGE,CA                                Page 1 of 4                Printed on 10/31/2019 3:21:22 PM
Document: LS 13362.320
BranchCase
       Case8:21-bk-11710-ES
             8:21-bk-11710-ES
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                                   157 Comment:
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                                    Reconsideration
                                                 PagePage
                                                       85 of 85
                                                             150of 150




ORANGE,CA                                Page 2 of 4                Printed on 10/31/2019 3:21:23 PM
Document: LS 13362.320
BranchCase
       Case8:21-bk-11710-ES
             8:21-bk-11710-ES
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                                    Reconsideration
                                                 PagePage
                                                       86 of 86
                                                             150of 150




ORANGE,CA                                Page 3 of 4                Printed on 10/31/2019 3:21:23 PM
Document: LS 13362.320
BranchCase
       Case8:21-bk-11710-ES
             8:21-bk-11710-ES
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                                 ForDocument
                                    Reconsideration
                                                 PagePage
                                                       87 of 87
                                                             150of 150




ORANGE,CA                                Page 4 of 4                Printed on 10/31/2019 3:21:23 PM
Document: LS 13362.320
Case
 Case8:21-bk-11710-ES
      8:21-bk-11710-ES Doc
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                    Motion
                         Main
                           ForDocument
                              Reconsideration
                                          PagePage
                                                88 of 88
                                                      150of 150




                          EXHIBIT B




                          EXHIBIT B




                          EXHIBIT B
BranchCase
       Case8:21-bk-11710-ES
             8:21-bk-11710-ES
      :A14,User :2004         Doc
                               Doc167-1
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                                    Reconsideration
                                                 PagePage
                                                       89 of 89
                                                             150of 150




ORANGE,CA                                Page 1 of 3                Printed on 5/8/2020 11:37:33 AM
Document: CA 13383.1868
BranchCase
       Case8:21-bk-11710-ES
             8:21-bk-11710-ES
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                                    Reconsideration
                                                 PagePage
                                                       90 of 90
                                                             150of 150




ORANGE,CA                                Page 2 of 3                Printed on 5/8/2020 11:37:33 AM
Document: CA 13383.1868
BranchCase
       Case8:21-bk-11710-ES
             8:21-bk-11710-ES
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                                   157 Comment:
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                                    Reconsideration
                                                 PagePage
                                                       91 of 91
                                                             150of 150




ORANGE,CA                                Page 3 of 3                Printed on 5/8/2020 11:37:33 AM
Document: CA 13383.1868
Case
 Case8:21-bk-11710-ES
      8:21-bk-11710-ES Doc
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                    Motion
                         Main
                           ForDocument
                              Reconsideration
                                          PagePage
                                                92 of 92
                                                      150of 150




                          EXHIBIT C




                          EXHIBIT C




                          EXHIBIT C
BranchCase
       Case8:21-bk-11710-ES
             8:21-bk-11710-ES
      :A14,User :2004         Doc
                               Doc167-1
                                   157 Comment:
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                                 ForDocument
                                    Reconsideration
                                                 PagePage
                                                       93 of 93
                                                             150of 150




ORANGE,CA                                Page 1 of 5
Document: LS 13424.499
BranchCase
       Case8:21-bk-11710-ES
             8:21-bk-11710-ES
      :A14,User :2004         Doc
                               Doc167-1
                                   157 Comment:
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                                 ForDocument
                                    Reconsideration
                                                 PagePage
                                                       94 of 94
                                                             150of 150




ORANGE,CA                                Page 2 of 5
Document: LS 13424.499
BranchCase
       Case8:21-bk-11710-ES
             8:21-bk-11710-ES
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                               Doc167-1
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                          Motion
                               Main
                                 ForDocument
                                    Reconsideration
                                                 PagePage
                                                       95 of 95
                                                             150of 150




ORANGE,CA                                Page 3 of 5
Document: LS 13424.499
BranchCase
       Case8:21-bk-11710-ES
             8:21-bk-11710-ES
      :A14,User :2004         Doc
                               Doc167-1
                                   157 Comment:
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                          Motion
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                                 ForDocument
                                    Reconsideration
                                                 PagePage
                                                       96 of 96
                                                             150of 150




ORANGE,CA                                Page 4 of 5
Document: LS 13424.499
BranchCase
       Case8:21-bk-11710-ES
             8:21-bk-11710-ES
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                               Doc167-1
                                   157 Comment:
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                          Motion
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                                    Reconsideration
                                                 PagePage
                                                       97 of 97
                                                             150of 150




ORANGE,CA                                Page 5 of 5
Document: LS 13424.499
BranchCase
       Case8:21-bk-11710-ES
             8:21-bk-11710-ES
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                               Doc167-1
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                                 ForDocument
                                    Reconsideration
                                                 PagePage
                                                       98 of 98
                                                             150of 150




ORANGE,CA                                Page 1 of 4
Document: LS 13424.504
BranchCase
       Case8:21-bk-11710-ES
             8:21-bk-11710-ES
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                               Doc167-1
                                   157 Comment:
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                                    Reconsideration
                                                 PagePage
                                                       99 of 99
                                                             150of 150




ORANGE,CA                                Page 2 of 4
Document: LS 13424.504
BranchCase
       Case8:21-bk-11710-ES
             8:21-bk-11710-ES
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                                    Reconsideration
                                                PagePage
                                                      100 of100
                                                             150of 150




ORANGE,CA                                Page 3 of 4
Document: LS 13424.504
BranchCase
       Case8:21-bk-11710-ES
             8:21-bk-11710-ES
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                              Doc167-1
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                         Motion
                              Main
                                ForDocument
                                    Reconsideration
                                                PagePage
                                                      101 of101
                                                             150of 150




ORANGE,CA                                Page 4 of 4
Document: LS 13424.504
Case
 Case8:21-bk-11710-ES
      8:21-bk-11710-ES Doc
                         Doc167-1
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                         Main
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                                           PagePage
                                                 102 of102
                                                        150of 150




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Case
 Case8:21-bk-11710-ES
      8:21-bk-11710-ES Doc
                         Doc167-1
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                               Reconsideration
                                           PagePage
                                                 103 of103
                                                        150of 150
Case
 Case8:21-bk-11710-ES
      8:21-bk-11710-ES Doc
                         Doc167-1
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                                                 104 of104
                                                        150of 150
Case
 Case8:21-bk-11710-ES
      8:21-bk-11710-ES Doc
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                                                 105 of105
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Case
 Case8:21-bk-11710-ES
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                                                 106 of106
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Case
 Case8:21-bk-11710-ES
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                               Reconsideration
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                                                 107 of107
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Case
 Case8:21-bk-11710-ES
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                                                 108 of108
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 Case8:21-bk-11710-ES
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                                                 109 of109
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 Case8:21-bk-11710-ES
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 Case8:21-bk-11710-ES
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                                                 111 of111
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Case
 Case8:21-bk-11710-ES
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                                                 112 of112
                                                        150of 150
Case
 Case8:21-bk-11710-ES
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                         Doc167-1
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                               Reconsideration
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                                                 113 of113
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Case
 Case8:21-bk-11710-ES
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                               Reconsideration
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                                                 114 of114
                                                        150of 150
Case
 Case8:21-bk-11710-ES
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                                                 115 of115
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Case
 Case8:21-bk-11710-ES
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                               Reconsideration
                                           PagePage
                                                 116 of116
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Case
 Case8:21-bk-11710-ES
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                                                 117 of117
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 Case8:21-bk-11710-ES
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                         Main
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                               Reconsideration
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                                                 118 of118
                                                        150of 150
Case
 Case8:21-bk-11710-ES
      8:21-bk-11710-ES Doc
                         Doc167-1
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                               Reconsideration
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                                                 119 of119
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                  Case8:21-bk-11710-ES
                       8:21-bk-11710-ES Doc
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                                            ForDocument
                                                Reconsideration
                                                            PagePage
                                                                  120 of120
                                                                         150of 150




                                   Property Profile                                                                                                       , , CA
          Property Information
          Owner(s):               Hold , Parcel                                              Mailing Address:           ,,
          Owner Phone:            Unknown                                                    Property Address:          , , CA
          Vesting Type:           N/A                                                        Alt. APN:
          County:                 Orange                                                     APN:                       178-771-03
          Map Coord:                                                                         Census Tract:
          Lot#:                                                                              Block:
          Subdivision:                                                                       Tract:                     10542
          Legal:                  N Tr 10542 Blk Lot 2 Un Hold

          Property Characteristics
          Use:                                                   Year Built / Eff. :             /                               Sq. Ft. :
          Zoning:                                                Lot Size Ac / Sq Ft:            /                               # of Units:
          Stories:                                               Improvements:                                                   Parking / #:      /
          Gross Area:                                            Garage Area :                                                   Basement Area:

          Sale and Loan Information
          Sale / Rec Date:                                       *$/Sq. Ft.:                                            2nd Mtg.:
          Sale Price:                                            1st Loan:                                              Prior Sale Amt:
          Doc No.:                                               Loan Type:                                             Prior Sale Date:
          Doc Type:                                              Transfer Date:                                         Prior Doc No.:
          Seller:                                                Lender:                                                Prior Doc Type:
         *$/Sq. Ft. is a calculation of Sale Price divided by Sq. Feet.

          Tax Information
          Imp Value:                                                                     Exemption Type:
          Land Value:                                                                    Tax Year / Area:               2019 / 04-007
          Total Value:                                                                   Tax Value:
          Total Tax Amt:                                                                 Improved:


         Property Profile                               , , CA                                                                                    11/15/2019
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1 of 2                             Property Profile                                                                                               11/15/19,, 10:36
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 Case8:21-bk-11710-ES
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                         Main
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                               Reconsideration
                                           PagePage
                                                 121 of121
                                                        150of 150
Case
 Case8:21-bk-11710-ES
      8:21-bk-11710-ES Doc
                         Doc167-1
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                               Reconsideration
                                           PagePage
                                                 122 of122
                                                        150of 150
Case
 Case8:21-bk-11710-ES
      8:21-bk-11710-ES Doc
                         Doc167-1
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                         Main
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                               Reconsideration
                                           PagePage
                                                 123 of123
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Case
 Case8:21-bk-11710-ES
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                               Reconsideration
                                           PagePage
                                                 124 of124
                                                        150of 150
Case
 Case8:21-bk-11710-ES
      8:21-bk-11710-ES Doc
                         Doc167-1
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                               Reconsideration
                                           PagePage
                                                 125 of125
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              Case
               Case8:21-bk-11710-ES
                    8:21-bk-11710-ES Doc
                                       Doc167-1
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                                       Main
                                         ForDocument
                                             Reconsideration
                                                         PagePage
                                                               126 of126
                                                                      150of 150




                            Recorded Document




                                 The Recorded Document images are displayed in the subsequent pages for the following request:



                                                                     State:                   CA
                                                                     County:                  Orange
                                                                     Document Type: Document - Book Page (1/1/50 - 12/31/60)
                                                                     Book:                    13824
                                                                     Page:                    1253




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 Case8:21-bk-11710-ES
      8:21-bk-11710-ES Doc
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                    Motion
                         Main
                           ForDocument
                               Reconsideration
                                           PagePage
                                                 127 of127
                                                        150of 150
Case
 Case8:21-bk-11710-ES
      8:21-bk-11710-ES Doc
                         Doc167-1
                              157 Filed
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                         Main
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                               Reconsideration
                                           PagePage
                                                 128 of128
                                                        150of 150
Case
 Case8:21-bk-11710-ES
      8:21-bk-11710-ES Doc
                         Doc167-1
                              157 Filed
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                    Motion
                         Main
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                               Reconsideration
                                           PagePage
                                                 129 of129
                                                        150of 150
              Case
               Case8:21-bk-11710-ES
                    8:21-bk-11710-ES Doc
                                       Doc167-1
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                                         ForDocument
                                             Reconsideration
                                                         PagePage
                                                               130 of130
                                                                      150of 150




                            Recorded Document




                                 The Recorded Document images are displayed in the subsequent pages for the following request:



                                                                     State:                   CA
                                                                     County:                  Orange
                                                                     Document Type: Document - Book Page (1/1/50 - 12/31/60)
                                                                     Book:                    13824
                                                                     Page:                    1256




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 Case8:21-bk-11710-ES
      8:21-bk-11710-ES Doc
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                    Motion
                         Main
                           ForDocument
                               Reconsideration
                                           PagePage
                                                 131 of131
                                                        150of 150
Case
 Case8:21-bk-11710-ES
      8:21-bk-11710-ES Doc
                         Doc167-1
                              157 Filed
                                    Filed07/26/22
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                    Motion
                         Main
                           ForDocument
                               Reconsideration
                                           PagePage
                                                 132 of132
                                                        150of 150
Case
 Case8:21-bk-11710-ES
      8:21-bk-11710-ES Doc
                         Doc167-1
                              157 Filed
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                    Motion
                         Main
                           ForDocument
                               Reconsideration
                                           PagePage
                                                 133 of133
                                                        150of 150
              Case
               Case8:21-bk-11710-ES
                    8:21-bk-11710-ES Doc
                                       Doc167-1
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                                         ForDocument
                                             Reconsideration
                                                         PagePage
                                                               134 of134
                                                                      150of 150




                            Recorded Document




                                 The Recorded Document images are displayed in the subsequent pages for the following request:



                                                                     State:                   CA
                                                                     County:                  Orange
                                                                     Document Type: Document - Book Page (1/1/50 - 12/31/60)
                                                                     Book:                    13824
                                                                     Page:                    1259




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                    Motion
                         Main
                           ForDocument
                               Reconsideration
                                           PagePage
                                                 135 of135
                                                        150of 150
Case
 Case8:21-bk-11710-ES
      8:21-bk-11710-ES Doc
                         Doc167-1
                              157 Filed
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                         Main
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                               Reconsideration
                                           PagePage
                                                 136 of136
                                                        150of 150
Case
 Case8:21-bk-11710-ES
      8:21-bk-11710-ES Doc
                         Doc167-1
                              157 Filed
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                    Motion
                         Main
                           ForDocument
                               Reconsideration
                                           PagePage
                                                 137 of137
                                                        150of 150
Case
 Case8:21-bk-11710-ES
      8:21-bk-11710-ES Doc
                         Doc167-1
                              157 Filed
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                         Main
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                               Reconsideration
                                           PagePage
                                                 138 of138
                                                        150of 150
Case
 Case8:21-bk-11710-ES
      8:21-bk-11710-ES Doc
                         Doc167-1
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                    Motion
                         Main
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                               Reconsideration
                                           PagePage
                                                 139 of139
                                                        150of 150
Case
 Case8:21-bk-11710-ES
      8:21-bk-11710-ES Doc
                         Doc167-1
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                    Motion
                         Main
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                               Reconsideration
                                           PagePage
                                                 140 of140
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Case
 Case8:21-bk-11710-ES
      8:21-bk-11710-ES Doc
                         Doc167-1
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                         Main
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                               Reconsideration
                                           PagePage
                                                 141 of141
                                                        150of 150
Case
 Case8:21-bk-11710-ES
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                    Motion
                         Main
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                               Reconsideration
                                           PagePage
                                                 142 of142
                                                        150of 150
Case
 Case8:21-bk-11710-ES
      8:21-bk-11710-ES Doc
                         Doc167-1
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                    Motion
                         Main
                           ForDocument
                               Reconsideration
                                           PagePage
                                                 143 of143
                                                        150of 150
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 Case8:21-bk-11710-ES
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                         Main
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                               Reconsideration
                                           PagePage
                                                 144 of144
                                                        150of 150
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 Case8:21-bk-11710-ES
      8:21-bk-11710-ES Doc
                         Doc167-1
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                         Main
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                               Reconsideration
                                           PagePage
                                                 145 of145
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 Case8:21-bk-11710-ES
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                         Doc167-1
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                         Main
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                               Reconsideration
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                                                 146 of146
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 Case8:21-bk-11710-ES
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                         Doc167-1
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                         Main
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                               Reconsideration
                                           PagePage
                                                 147 of147
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 Case8:21-bk-11710-ES
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                         Doc167-1
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                    Motion
                         Main
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                               Reconsideration
                                           PagePage
                                                 148 of148
                                                        150of 150
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 Case8:21-bk-11710-ES
      8:21-bk-11710-ES Doc
                         Doc167-1
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                    Motion
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                               Reconsideration
                                           PagePage
                                                 149 of149
                                                        150of 150
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 Case8:21-bk-11710-ES
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                         Doc167-1
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                    Motion
                         Main
                           ForDocument
                               Reconsideration
                                           PagePage
                                                 150 of150
                                                        150of 150
